       Case 3:14-cr-01288-DMS                          Document 1220                   Filed 07/20/16            PageID.8210                  Page 1 of
                                                                                3

     l!'&AO 245B (CASD) (Rev. 4/14)   Judgment in a Criminal Case
                Sheet 1
                                                                                                                                       1111       n /I ?n1C   l
                                                UNITED STATES DISTRICT COURT                                                     --.-----.--~
                                                                                                                             CLERK US JIS i dieT COURl
                                                                                                                         SOUTHEI~N DISTH.::'T Of~ CALIFORNIA
                                                     SOUTHERN DISTRICT OF CALIFORNIA                                     BY       _ "lnlYJ                .~~

                     UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                          v.                                          (For Offenses Committed On or After November I, 1987)

                           WILBERT ROSS III (13)                                      Case Number: 14CR1288-DMS

                                                                                      Michael Berg CJA
                                                                                      Defendant's Attorney
    REGISTRATION NO. 41931298

    D
    THE DEFENDANT:
    ~ pleaded guilty to count(s) 1,8 and 9 of the 5th Superseding Indicttnent

     D was found guilty on count(s)' _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not gUilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                               Count
     Title & Section                           Nature or Offense                                                                              Number(s)
18 USC 1962(d)                          CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A
                                          PATTERN OF RACKETEERING ACTIVITY
18 USC 1591(a),(b) and (c)              SEX TRAFFICKING OF A MINOR                                                                            8
18 USC 1591(a) and (b)                  SEX TRAFFICKING BY FORCE, FRAUD OR COERCION                                                           9




        The defendant is sentenced as provided in pages 2 through                 3          of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o    The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 181 cQunt(s)....:,:re:::m:::a::;in:::in:;g'-_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0 arel8l dismissed on the motion of the United States.
 ~ Assessment: $300.00 ($100.00 as to each of Counts 1, 8 and 9).



  181 Fine waived                                     D Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                               July 20,2016
                                                                               Date ofImposition o~e _l          no. ~
                                                                               HON. DANA           Ktsd~w
                                                                               UNITED STATES DISTRICT JUDGE



                                                                                                                                                  14CR1288-DMS
  Case 3:14-cr-01288-DMS                       Document 1220                 Filed 07/20/16          PageID.8211                  Page 2 of
                                                                         3
AO 245B (CASD) (Rev. 4114) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                                     Judgment - Page _....::.2_    of    3
 DEFENDANT: WILBERT ROSS III (13)
 CASE NUMBER: 14CR1288-DMS
                                                              IMPRISONMENT
          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          Count 1: LIFE. Count 8: TEN (10) YEARS, concurrent to Count 1. Count 9: FIFTEEN (15) YEARS, consecutive to Count
          8, and concurrent to Count 1. All counts will run consecutive to any sentence in the Superior Court of California, County
          of San Diego, Case No. CD252867.

      o   Sentence imposed pursuant to Title 8 USC Section 1326(b).
      D The court makes the following recommendations to the Bureau of Prisons:



      o   The defendant is remanded to the custody of the United States Marshal.

      o   The defendant shall surrender to the United States Marshal for this district:
            Oat                                   Oa.m.          Op.m.       on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

      o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before ------------------------------------------------
         o as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                                    RETURN

 I have executed this judgment as follows:

          Defendant delivered on                                                        to

 at                                                      with a certified copy of this judgment.


                                                                                                   UNIlED STATES :MARSHAL


                                                                          By ________~~~~~~~~~--------
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                                  14CR1288-DMS
    Case 3:14-cr-01288-DMS            Document 1220          Filed 07/20/16      PageID.8212        Page 3 of
                                                         3
AO 245B (CASD Rev. 08113) Judgment in a Criminal Case

DEFENDANT:              WILBERT ROSS III (13)                                                    Judgment - Page 3 of 3
CASE NUMBER:            l4CRI288-DMS

                                            RESTITUTION,

The defendant shall pay restitution in the amount       $43,803.12     unto the United States of America.
                                                       -"'-'-"'===----

Restitution shall be paid through the Clerk, U.S. District Court, as directed in a restitution order to be filed in
the future. Restitution of$37,550.87 shall be paid to the California Victim Compensation & Government
Claims Board, and $5,252.25 shall be paid to the family of Andres Caldera.

Defendant shall be jointly and severally liable to pay restitution with co-defendants Marcus Anthony Foreman,
Germaine Gerald Cook and Terry Carry Hollins.




                                                                                                    14CR1288-DMS
